Case 1:15-cv-01167-JPO Document 21-1 Filed 04/28/15 Page 1 of 1

The Supreme Court of Texas
AUSTIN

CLERK'S OFFICE

|, BLAKE HAWTHORNE, Clerk of the Supreme Court of Texas, certify that the
records of this office show that

Caroline Cook Maxwell

was duly admitted and licensed as an attorney and counselor at law by the Supreme
Court of Texas on the 3rd day of November, 2006.

| further certify that the records of this office show that, as of this date

Caroline Cook Maxwell

is presently enrolled with the State Bar of Texas as an active member in good standing.

IN TESTIMONY WHEREOF witness my hand
and the seal of the Supreme Court of
Texas at the City of Austin, this, the
24th day of April, 2015.
BLAKE HAWTHORNE, Clerk

_y BME

Brad Sonego, Deputy Clerk

No. 0424A

This certification expires thirty days from this date, unless sooner revoked or rendered invalid by operation of rule or law.
